                21-11045-lgb
     Fill in this                      Doc
                  information to identify your1case:
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     United States Bankruptcy Court for the:

     Southern District of New
     ____________________        York
                           District of _________________
                                       (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Certa  Dose, Inc
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               101 Avenue of the Americas                               _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               3rd Floor
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               New York                      NY    10013
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               New York County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                https://www.certadose.com/
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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                Certa Dose, Inc
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name


                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           ✔ None of the above



                                           B. Check all that apply:
                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                              See http://www.naics.com/search/ .
                                                _________

8.    Under which chapter of the           Check one:
      Bankruptcy Code is the                Chapter 7
      debtor filing?
                                            Chapter 9
                                           
                                           ✔ Chapter 11. Check all that apply:

                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                        recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                        income tax return or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                         The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                            statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12
9.    Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes.     Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________

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              Certa Dose, Inc
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million
                                                                              ✔
                                                                                                                         $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



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               Certa Dose, Inc
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million
                                                                                   ✔
                                                                                                                          $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              05/30/2021
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Caleb S. Hernandez
                                               _____________________________________________               Caleb S. Hernandez
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      President
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Norma Ortiz
                                               _____________________________________________              Date         05/30/2021
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Norma Ortiz
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Ortiz & Ortiz, LLP
                                               _________________________________________________________________________________________________
                                               Firm name
                                                35-10 Broadway Ste 202
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Astoria
                                               ____________________________________________________             NY            11106
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                7185221117
                                               ____________________________________                              email@ortizandortiz.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                2206530                                                         NY
                                               ______________________________________________________ ____________
                                               Bar number                                             State




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Alan C. Friedberg                                      Internal Revenue Service
Berg Hill Greenleaf Ruscitti LLP                       PO Box 7346
1712 Pearl Street                                      Centralized Insolvency Agency
Boulder, CO 80302                                      Philadelpia, PA 19101-7346


Alan Young Synn                                        Kevin M. Shea
1302 S. Uinta Ct., Denver                              Richilano Shea LLC
Denver, CO 80231                                       1800 15th Street, Suite 101
                                                       Denver, CO 80202

Anthony R. Mayer
210 University, Blvd., Suite 650                       LFD III GRAT U/A 8.26.15
Denver, CO 80206                                       1130 S. Franklin Street
                                                       Denver, CO 80210

Brian Harrington
769 Sandhill Cir.                                      Marshall Dennehey
Steamboat Springs, CO 80487                            2000 Market Street, Suite 2300
                                                       Philadelphia, PA 19103

Caleb Hernandez
PO Box 838                                             Matthew Fleishman
Denver, CO 80201                                       260 Monroe St, Denver
                                                       Denver, CO 80206

COPIC Insurance Company
7351 E Lowry Blvd #400                                 Matthew R. Groves
Denver, CO 80230                                       Groves Law LLC
                                                       281 South Pearl Street
                                                       Denver, CO 80209
Davis Hurley
7441 E 8th Ave, Denver
Denver, CO 80230                                       Niles Cole
                                                       703 S Hudson St, Denver
                                                       Denver, CO 80246
Department of Revenue
Taxation Division
P.O. Box 17087                                         NYS Dept of Tax And Finance
Denver, CO 80217                                       Bankruptcy Section
                                                       PO Box 5300
                                                       Albany, NY 12205-0300
Fortis Law Partners
Certa Dose, Inc
1900 Wazee Street, Ste. 300                            Phoebe Fisher
Denver, CO 80202                                       490 Apple Grove Rd.
                                                       Coatesville, PA 19320

Frederick J. Baumann
LEWIS ROCA ROTHGERBER CHRISTIE LLP                     Stephen R. Hoffenberg
1200 17th Street, Suite 3000                           48 Brookhaven Drive
Denver, CO 80202                                       Littleton, CO 80123


Geraldine Lewis-Jenkins                                The Law Office of Josue D. Hernandez
139 Harrison St, Denver                                Certa Dose, Inc
Denver, CO 80206                                       P.O. Box 8383
                                                       Denver, CO 80201
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Theodore Clarke
25149 US Highway 40
Golden, CO 80401


Thomas S. Cowan
1001 Michigan Avenue
Wilmette, IL 60091


Tyler M. Nemkov
LEWIS ROCA ROTHGERBER CHRISTIE LLP
1200 17th Street, Suite 3000
Denver, CO 80202


U.S SBA
Aattn: Diana Mukiibi
10737 Gateway West, #300
El Paso, TX 79935
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ORTIZ & ORTIZ, L.L.P.
35-10 Broadway, Ste. 202
Astoria, New York 111060
Tel. (718) 522-1117
Fax (718) 596-1302
email@ortizandortiz.com
Proposed Counsel to the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re

CERTA DOSE, INC.                                             Case No.


                                    Debtor.                  Chapter 11
--------------------------------------------------------X

                       AFFIDAVIT PURSUANT TO LOCAL RULE 1007-2

        Dr. Caleb Hernandez, president of the above-captioned debtor in possession (the

“Debtor”), hereby swears as follows:

        1.       Describe the Nature of the Business and the Circumstances Leading to the

Debtor’s filing under Chapter 11: Through my efforts, Certa Dose, Inc. (the “Debtor”), a

pharmaceutical technology company that has developed a proprietary and patented method of

delivering medicine to children and others in a safer way that significantly reduces, and virtually

eliminates, the risk of a life-threatening medical overdose. (Medical mistakes are the third

leading cause of death in the United States, and are three times more common in children than in

adults.) It is a Delaware corporation I founded that commenced operations in Colorado to help

bring this life-saving technology to market. The principal business of the Debtor is developing,

selling and licensing pharmaceutical products and technology. It conducts it business from its

New York office. Most of the company's revenues have been generated from its New York
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office as well. The Debtor’s products are being used by many municipalities to assist in the

COVID-19 vaccination effort.

       2.      In 2016, COPIC Insurance Company (“COPIC”), a medical malpractice insurance

company, invested in the Debtor. At that time, COPIC and the Detor were dually represented by

the law firm Cooley, LLP (“Cooley”). However, Cooley did not disclose to the Debtor that this

dual representation presented an inherent conflict of interest. Cooley advised COPIC extensively

as to its rights under corporate documents that involved the Debtor, as well as the convertible

note agreements that COPIC later obtained from the Debtor, but the firm did not adequately

counsel the Debtor despite its promise to do so.

       3.      Between 2016 and the end of 2018, COPIC placed two directors on the Debtor’s

Board of Directors: Steve Rubin and Stephen Hoffenberg. Although these two individuals were

fiduciaries of the Debtor, they did not disclose COPIC’S intent to saddle the Debtor with debt.

Steve Rubin and Stephen Hoffenberg held secret meetings with Cooley and were well aware of

COPIC’S intentions for the Debtor. Steven Rubin was on COPIC’s Board and, at one point,

informed the Debtor that he was not really bound by fiduciary duties to the Debtor because he

owed fiduciary duties to COPIC.

       4.      In 2018, Steven Rubin, COPIC’s President and Board member, persuaded me to

make Stephen Hoffenberg an Independent Director of the Debtor. Mr. Rubin and other COPIC-

affiliated Board members recommended that I become CEO and Chairman of the Board and

relocate to New York from Colorado. John Blood was engaged to serve as CFO to handle the

day to day operations in Colorado in 2019.

       5.      John Blood began incurring an inordinate amount of expenses on behalf of the

                                                   2
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Debtor. He permitted Cooley to increase their billing rates without informing the Board and

permitted the firm to bill the Debtor $30,000 a month in legal fees for work that could have been

performed by another firm at a much lower rate. He hired a large number of employees and paid

them above-market salaries with benefits for jobs that were previously done on an “as needed”

basis by outsourced services at a fraction of the cost. In short, John Blood caused the Debtor to

expend roughly $8,000,000 dollars of funds that had been raised through convertible promissory

notes by August of 2019. He caused the Debtor to spend roughly $500,000 a month over my

objections.

       6.      I later discovered that these harmful acts were intentionally planned to cause the

Debtor to lose value so that the company could be acquired through a hostile takeover. John

Blood admitted to an employee of the Debtor that he would receive compensation from

investors for his efforts. The Debtor suspended Mr. Blood and conducted an investigation of his

activities. I learned that the accountant and controller informed Mr. Blood that the spending was

fiscally unsound. John Blood engaged in numerous actions that harmed the company and were

designed to place the Debtor in a weakened position so that a sale of the company for a low value

could benefit his affiliated investors.

       7.      While this excessive spending was occurring, John Blood and the COPIC-

affiliated Board members pushed for opening another round of bridge financing in 2018 and

2019. Efforts were made by John Blood and the COPIC-affiliated Board members to keep the

original investors from investing. As such, this round of investors were affiliated with John

Blood and COPIC rather than the Debtor’s original investors. During this period, the

COPIC-affiliated Board members routinely vetoed and thwarted my investment

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opinions and efforts by others to invest in the Debtor. Additionally, during this time,

COPIC had the power to amend the notes, including their own. This entitled COPIC

to assert power over the Debtor since COPIC could manipulate the notes so that they

could never reach a maturity date: this would preclude other investors from investing

in the company. COPIC also convinced me to sign over the intellectual property to

the Debtor for no consideration.

       8.        By September and October of 2019, the Debtor was in the zone of

insolvency and it was apparent that COPIC was trying to take control of the company

from the other shareholders and leave the investors that were not affiliated with John

Blood or COPIC in a threatened and/or desperate position. During this time, Steven

Rubin insisted that the Board did not owe a duty to their investors. However, I was highly

concerned about the duty owed to investors and COPIC’S lack of acknowledgment that a duty

was owed to these investors.

       9.        At this time, the Board voted to investigate the waste created by John

Blood and the nature of the Series A round of investment that the COPIC-affiliated Board

Members and John Blood were urging the Debtor to undertake. However, after the measure was

approved, it was later opposed by the COPIC-affiliated Board Members: they stated they would

oppose an investigation and would not cooperate. The COPIC-affiliated Board Members also

attempted to schedule a meeting in October of 2019 to forge through the Series A without an

investigation.

       10.       In response to these actions, the majority of the shareholders voted to suspend the

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COPIC-affiliated Board members and John Blood. The Debtor offered to reinstate the Board

members once they turned over their communications with their affiliated investors and disclosed

the actual nature of the Series A they had proposed. At the same time, I asked Cooly for

information, but the firm refused to provide information without the full Board’s consent,

including the COPIC-affiliated Board members. At this point, John Blood resigned from the

Company but did not turn over the requested investment documents. Steve Hoffenberg also

resigned from the Board.

       11.     Since that time, the Debtor has been saddled by a score of litigation claims that

have been beenenced by or prosecuted against the Debtor. The Debtor’s economic difficulties

have accumulated over time and are a direct result of the misdeeds and breach of fiduciary duty

by the COPIC-affiliated investors, former officer, and former Board members. The litigation has

caused the Debtor to incur significant legal costs. Most recently, a Colorado state court granted

summary judgment on the notes sued upon by the investors that have forced the Debtor to seek

relief before the Court. The Debtor projects its sales will substantially increase and will

successfully emerge from Chapter 11.

       12.     If the case originally was commenced under chapter 7 or chapter 13, the

name and address of any trustee appointed in the case and, in a case originally commenced

under chapter 7, the names and addresses of the members of any creditors' committee: No

prior bankruptcy case was filed by the Debtor.

       13.     State the names and addresses of the members of, and attorneys for, any

committee organized prior to the order for relief in the chapter 11 case, and a brief

description of the circumstances surrounding the formation of the committee and the date


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of its formation: No committee was formed prior to the bankruptcy filing.

       14.      List the names, addresses, telephone numbers, person(s) familiar with the

Debtor’s account, amount of the claim, and whether the claim is contingent, unliquidated,

disputed, or partially secured of the Debtor’s 20 largest non-insider unsecured creditors:

See list annexed as Exhibit A.

       15.      List the names, addresses, telephone numbers, person(s) familiar with the

Debtor’s account, amount of the claim, and whether the claim is contingent, unliquidated,

disputed, or partially secured of the Debtor’s 5 largest secured creditors: See list annexed

as Exhibit A.

       16.      Provide a summary of the Debtor’s assets and liabilities: See list annexed as

Exhibit A.

       17.      Provide the number and classes of shares of stock, debentures, or other

securities of the Debtor that are publicly held, and the number of record holders thereof,

listing separately those held by each of the debtor’s officers and directors and the amounts

so held: None.

       18.      List of all of the debtor’s property in the possession or custody of any

custodian, public officer, mortgagee, pledgee, assignee of rents, or secured creditor, or

agent for any such entity, giving the name, address, and telephone number of each such

entity, the title of any proceeding relating thereto, and the court in which it is pending:

There is no such property.

       19.      Provide a list of the premises owned, leased, or held under any other

arrangement from which the Debtor operates its business: The Debtor leases office space in

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New York and Colorado. The Debtor’s principal place of business and office address is 101

Avenue of the Americas, 3rd Flr., New York, New York 10013.

       20.     Describe the location of the debtor’s significant assets, the location of its

books and records, and the nature, location, and value of any assets held by the Debtor

outside the territorial limits of the United States: The Debtor does not own any assets outside

of the United States.

       21.     Describe the nature and present status of each action or proceeding, pending

or threatened, against the debtor or its property where a judgment against the debtor or a

seizure of its property may be imminent       See list annexed as Ehibit A.

       22.     List the names of the Debtor’s existing senior management, their tenure with

the Debtor, and a summary of their relevant responsibilities and experience: At this time, I

am primarily responsible for the management of the Debtor. I am supported by my controller,

my in-house counsel, and my sales manager.

       23.     List the estimated amount of the weekly payroll to employees (exclusive of

officers, directors, stockholders, partners and members) for the 30-day period following the

filing of the chapter 11 petition: The Debtor’s average weekly payroll, at this time, is

approximately $15,0000.

       24      List the amount to be paid for services in the (30) day period following the

filing of the chapter 11 petition, to (A) officers, stockholders, and directors of corporate

debtors, (B) individual debtors, (C) partners of partnership debtors, and (D) financial or

business consultants retained by the debtor: I earn approximately $41,000 a year. There are

no other payments to officers, stockholders, directors, of consultants anticipated in the next

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thirty days.

          25     Provide a schedule, for the thirty (30) day period following the filing of the

chapter 11 petition, of estimated cash receipts and disbursements, net cash gain or loss,

obligations and receivables expected to accrue but remain unpaid, other than professional

fees, and any other information relevant to an understanding of the foregoing: See list

annexed as Exhibit A.

          I hereby declare that the foregoing is accurate and true to the best of my knowledge and

belief.

Dated: May 30, 2021
       New York, New York

                                                              S/Caleb Hernandez
                                                              Caleb Hernandez, President
s/Norma E. Ortiz
Sworn to me this 30th day of May 2021.

Notary Public, State of New York
Registration No. 02OR6302493
Certificate filed in New York County
Commission Expires 05/05/2022




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                                                      Exhibit A

                     Persons Familiar with Debtor’s Non-Insider Unsecured Claims

                    (List the names, addresses, telephone numbers, person(s) familiar with the debtor’s
                 account, amount of the claim, and whether the claim is contingent, unliquidated, disputed,
                     or partially secured of the Debtor’s 20 largest non-insider unsecured creditors.)


      Creditor                  Contact Information                   Amount of Claim                 Status of Claims

List of the 20 Largest
Unsecured Creditors
to be provided


                               Persons Familiar with Debtor’s Secured Claims

                    (List the names, addresses, telephone numbers, person(s) familiar with the Debtor’s
                     account, amount of the claim, and whether the claim is contingent, unliquidated,
                         disputed, or partially secured of the debtor’s 5 largest secured creditors.)


      Creditor                    Contact Information                       Amount of                 Status of Claims
                                                                             Claim

U.S SBA                    Diana Mukiibi                                 $150,000                 Payments made as
                           El Paso Disaster Home Loan                                             agreed.
                           Servicing Center
                           10737 Gateway West, #300, El
                           Paso, TX 79935

Caleb Hernandez            7351 East Lowry                               $77,000,000              Pending
                           Boulevard, Suite 400
                           Denver, CO 80230
                           Caleb@certadose.com




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                                      Summary of Assets and Liabilities

Real Property                  None
Personal Property              Cash, accounts receivable, intellectual property, and related tangible
                               personal property.




Secured Debt                   Approximately $77,150,000 in secured debt.



Unsecured Debt                 Approximately $5,300,000.00 in unsecured debt.


                         Estimated Thirty (30) Cash Receipts and Disbursements

             (Provide a schedule, for the thirty (30) day period following the filing of the chapter 11 petition,
             of estimated cash receipts and disbursements, net cash gain or loss, obligations and receivables
              expected to accrue but remain unpaid, other than professional fees, and any other information
                                       relevant to an understanding of the foregoing)


                      Income                                                                Expenses
        Source                          Amount                               Type                              Amount

Sales                        Approx. $60,000                      Payroll                           Approx. $36,000
                                                                  Rent                              $1$1,200
                                                               Other                                Approx. $32,800




                                                                  Total                              Approx. $70,000

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re

Certa Dose, Inc.,                                                  Case No.


                                    Debtor.                        Chapter 11
--------------------------------------------------------X


    CORPORATE OWNERSHIP STATEMENT PURSUANT TO FED. R. BANKR. P.
           1007(a)(1) AND 7007.1 AND LOCAL BANKR. RULE 1007-3

        Pursuant Fed. R. Bankr. Proc. 1007(a)(1) and 7007.1 and Local Bankr. Rule 1007-3,

Certa Dose, Inc., as debtor and debtor in possession in the above captioned chapter 11 cases (the

“Debtor”), respectfully represents:

        The undersigned, being an officer and shareholder of the Debtor, hereby states that there

are no entities that directly or indirectly own 10% or more of any class of the debtor’s equity

interest.



Dated: May 30, 2021
Queens, New York

                                                             /s/Caleb S. Hernandez
                                                            ____________________
                                                            Caleb S. Hernandez, President
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                     CERTIFICATE OF CORPORATE RESOLUTION OF

                                        CERTA DOSE, INC.

      The undersigned, President of Certa Dose, Inc. (the "President"), a Delaware
Corportation (the "Company"), hereby certifies as follows:

1.       The following resolution was duly and unanimously adopted by a majority of the
         directors of the Company at a meeting duly called and held on 5/30/2021, at which a
         quorum of the directors was present and acting throughout the meeting, and said
         resolutions have not been amended and are in full force and effect:

                RESOLVED. that it is in the best judgment of the Board Of Directors that the
                Company commence a voluntary chapter 11 proceeding for reorganize its business
                and economic affairs. It is further

                RESOLVED, that the Company is authorized to open a debtor in possession bank
                account and take all other steps necessary to ensure that it fully complies with
                applicable state and federal laws in connection with its bankruptcy case. It is further

                RESOLVED, that the Company is authorized to retain Ortiz & Ortiz LLP as its
                bankruptcy counsel and retain any other professionals necessary to prosecute its
                bankruptcy case.

2.       Appearing below are the names of the persons authorized by the foregoing resolution to
         act on behalf of the Company, and appearing opposite their names are their positions and
         specimens of their true and correct signatures:

         Name                          Position        Signature


         Caleb S. Hernandez            President        /s/Caleb S. Hernandez


IN WITNESS WHEREOF, I have executed this certificate on the 3 0 th day of May 2021. I
swear that the foregoing is accurate and true.


                                                      _/s/Caleb S. Hernandez______
                                                      Secretary/President
